           Case 1:19-cv-05292-MHC Document 1 Filed 11/21/19 Page 1 of 19




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

CITIZENS INSURANCE COMPANY                         )
OF AMERICA                                         )
                                                   )
       Plaintiff,                                  )
                                                   )
v.                                                 )       CIVIL ACTION NO.:
                                                   )       ___________________
BANYAN TREE MANAGEMENT,                            )
LLC; ALBANY DOWNTOWN HOTEL                         )
PARTNERS, LLC; and JANE DOE                        )
                                                   )
       Defendants.                                 )

                 PETITION FOR DECLARATORY JUDGMENT

       COMES NOW Plaintiff Citizens Insurance Company of America (“Citizens”)

and, pursuant to FED. R. CIV. P. 57 and 28 U.S.C. § 2201, submits this Petition for

Declaratory Judgment against Defendants Banyan Tree Management, LLC; Albany

Downtown Hotel Partners, LLC; and Jane Doe1 and states as follows:

       1.      This is an action for declaratory relief for the purpose of resolving an

actual controversy concerning the availability and scope of insurance coverage under

the insurance policies described below.

       1
         Jane Doe is proceeding anonymously in the lawsuit styled Jane Doe v. Banyan Tree
Management, LLC et al., Civil Action File No. 19-C-04673-S3 currently pending in the State Court
of Gwinnett County, Georgia. She alleges that privacy violations have caused her to suffer
humiliation and substantial damages, and she would be “harmed further by proceeding in her full
name.” Ex. A., n.1.

                                               1
        Case 1:19-cv-05292-MHC Document 1 Filed 11/21/19 Page 2 of 19




      2.     This declaratory action stems from an underlying lawsuit against

Banyan Tree Management, LLC (“Banyan Tree”); Albany Downtown Hotel

Partners, LLC (“Albany Partners”); and John Doe brought by Jane Doe captioned

Jane Doe v. Banyan Tree Management, LLC et al., Civil Action File No. 19-C-

04673-S3, filed on July 2, 2019 in the State Court of Gwinnett County, Georgia (the

“Underlying Action”). A copy of the Complaint in the Underlying Action is attached

hereto as Exhibit A.

      3.     Albany Partners and Banyan Tree have requested insurance coverage

(defense and indemnity) from Citizens under certain policies of insurance for the

claims asserted against them by Jane Doe in the Underlying Action.

      4.     Citizens is participating in the defense of Albany Partners and Banyan

Tree in the Underlying Action pursuant to a full reservation of rights.

      5.     Citizens disputes it owes insurance coverage to Albany Partners and

Banyan Tree for the Underlying Action under these policies and applicable law, as

set forth more fully below.

                                     PARTIES

      6.     Citizens is a corporation organized and existing under the laws of the

State of Michigan, with its principal place of business in Howell, Michigan.




                                          2
        Case 1:19-cv-05292-MHC Document 1 Filed 11/21/19 Page 3 of 19




      7.     Banyan Tree is a limited liability company organized and existing

under the laws of the State of Florida, with its principal place of business in Florida.

For purposes of diversity of citizenship, Banyan Tree is a citizen of Georgia because

members of Banyan Tree are citizens of Georgia.

      8.     Albany Partners is a limited liability company organized and existing

under the laws of the State of Delaware, with its principal place of business in

Florida. For purposes of diversity of citizenship, Albany Partners is a citizen of

Georgia because members of Albany Partners are citizens of Georgia.

      9.     Jane Doe is an adult citizen and resident of the State of Illinois. Jane

Doe is the plaintiff in the Underlying Action. Therefore, she has an interest in the

issues presented in this declaratory judgment action.

                          JURISDICTION AND VENUE

      10.    This Court has subject matter jurisdiction over this action pursuant to

28 U.S.C. § 1332 because complete diversity of citizenship exists between Citizens

and each defendant, and the amount in controversy, exclusive of interest and costs,

exceeds $75,000.

      11.    Jane Doe filed the Underlying Action in the State Court of Gwinnett

County, Georgia; therefore, pursuant to O.C.G.A. § 9-10-91 (“Georgia’s Long Arm




                                           3
        Case 1:19-cv-05292-MHC Document 1 Filed 11/21/19 Page 4 of 19




Statute”), this Court has personal jurisdiction over Jane Doe because she has

purposefully availed herself to the benefits and protections of the State of Georgia.

      12.    Venue in this District is proper pursuant to 28 U.S.C. § 1391(b) because

all defendants are subject to the Court’s personal jurisdiction.

                           THE CITIZENS POLICIES

      13.    Citizens issued commercial insurance policies containing commercial

general liability (“CGL”) coverage parts to its Named Insured “Albany Downtown

Partners, LCC” for consecutive annual policy periods from April 21, 2015 to April

21, 2017 as further described herein (collectively the “CGL Policies”).

      14.    Subject to the CGL Policies’ definitions, terms, and conditions, Banyan

Tree qualifies as an additional insured under the CGL Policies.

      15.    Each of the CGL Policies includes a limit of $1,000,000 for each

occurrence; a $1,000,000 personal and advertising injury limit; and a $2,000,000

general aggregate limit.

      16.    Citizens does not owe a duty to defend or indemnify Albany Partners

or Banyan Tree for claims asserted in the Underlying Action under the CGL Policies

because the requirements of the insuring agreements of the CGL Policies have not

been met, and the CGL Policies contain exclusions that preclude coverage for the

Underlying Action as further described herein.

                                          4
        Case 1:19-cv-05292-MHC Document 1 Filed 11/21/19 Page 5 of 19




                         THE UNDERLYING ACTION

       17.   On or about July 2, 2019, Jane Doe filed the Underlying Action

asserting claims against Banyan Tree and Albany Partners. [See Ex. A].

       18.   Jane Doe alleges that Albany Partners owns and Banyan Tree manages

the Hampton Inn and Suites Albany-Downtown (“Hampton Inn”). [Ex. A. ¶ 1].

       19.   Jane Doe alleges she was a guest at the Hampton Inn in July of 2015,

and that, without her knowledge or consent, she was “secretly recorded fully nude

showering in the [Hampton Inn] bathroom.” [Ex. A. ¶ 1].

       20.   Jane Doe alleges that she “did not realize she was recorded until

September 30, 2018, when she received an e[-]mail” from an unknown sender,

which contained a link to the video of her fully nude in the Hampton Inn shower.

[Ex. A. ¶¶ 11-12].

       21.   Jane Doe alleges that, following the September 30, 2018 e-mail, she

received subsequent e-mails from the unknown sender on October 1, 2018; October

11, 2018; October 19, 2018; October 20, 2018; and October 26, 2018, and the video

was posted on multiple pornographic and video-sharing websites. [See Ex. A ¶¶ 14-

30].

       22.   Jane Dane alleges that these e-mails contained threats and were used to

extort and blackmail her into cooperation with the unknown sender’s demands.

                                         5
          Case 1:19-cv-05292-MHC Document 1 Filed 11/21/19 Page 6 of 19




         23.   Jane Doe alleges that the conduct “was reckless, meaning that John Doe

[, the unknown sender, ] had the specific purpose of inflicting emotional distress or

intended the conduct (recording . . . [Jane Doe] nude in the shower) would likely

result in severe emotional distress to [Jane Doe].” [Ex. A. ¶ 46].

         24.   Jane Doe alleges that she has suffered emotional distress, and she “did

not suffer from any type of remotely similar emotional distress until after she became

aware” of the recording on September 18, 2018. [Ex. A. ¶¶ 14, 46].

         25.   Jane Doe further alleges that “[s]ince this incident she has sustained

significant gastrointestinal issues and has lost over 30 pounds to date . . . [, and that

she] did not have these problems prior to this incident.” [Ex. A. ¶ 46].

         26.   Jane Doe does not allege that she suffered any “bodily injury” or

“property damage” during the policy period of either of the CGL Policies.

         27.   Jane Doe seeks “all compensatory, special, economic, consequential,

general, punitive, and all other damages permissible under Georgia [l]aw.” [Ex. A.

¶ 80].

                   COUNT I: DECLARATORY JUDGMENT –
    ANY ALLEGED “BODILY INJURY” OR “PROPERTY DAMAGE”
     OCCURRED AFTER THE CGL POLICIES’ POLICY PERIODS
         28.   Citizens re-alleges and incorporates by reference Paragraphs 1 through

27 as if fully set forth herein.

                                           6
        Case 1:19-cv-05292-MHC Document 1 Filed 11/21/19 Page 7 of 19




      29.     The Coverage A Insuring Agreement of the CGL Policies provides, in

part, as follows:

      SECTION I – COVERAGES
      COVERAGE A BODILY INJURY AND PROPERTY DAMAGE
      LIABILITY

      1. Insuring Agreement

            a. We will pay those sums that the insured becomes legally
               obligated to pay as damages because of “bodily injury” or
               “property damage” to which this insurance applies. We will
               have the right and duty to defend the insured against any suit”
               seeking those damages. However, we will have no duty to
               defend the insured against any “suit” seeking damages for
               “bodily injury” or property damage” to which this insurance
               does not apply. We may, at our discretion, investigate any
               “occurrence” and settle any claim or “suit” that may result. But:

                (1) The amount we will pay for damages is limited as
                    described in Section III – Limits of Insurance; and

                (2) Our right and duty to defend ends when we have used
                    up the applicable limit of insurance in the payment of
                    judgments or settlements under Coverages A or B or
                    medical expenses under Coverage C.

                No other obligation or liability to pay sums or perform acts or
                services is covered unless explicitly provided under
                Supplementary Payments–Coverages A and B.

            b. This insurance applies to “bodily injury” and “property
               damage” only if:

                (1) The “bodily injury” or “property damage” is caused by an
                    “occurrence” that takes place in the “coverage territory”;

                                           7
        Case 1:19-cv-05292-MHC Document 1 Filed 11/21/19 Page 8 of 19




                (2) The “bodily injury” or “property damage” occurs during
                    the policy period; . . .

[Policy Form CG 00 01 12 07, p. 1 of 16].

       30.    Citizens has no duty to defend or indemnify Albany Partners or Banyan

Tree because the claims asserted in the Underlying Action do not satisfy the

requirements of the Coverage A insuring agreement of the CGL Policies.

       31.    Citizens has no duty to defend or indemnify Albany Partners or Banyan

Tree under the CGL Policies because any alleged “bodily injury” or “property

damage” did not occur during the policy period of either of the CGL Policies.

       32.    An actual controversy exists because Citizens contends that, pursuant

to the terms of the CGL Policies, Citizens has no duty to defend Albany Partners or

Banyan Tree in the Underlying Action or to indemnify Albany Partners or Banyan

Tree for any damages resulting therefrom.

       33.    Under 28 U.S.C. § 2201, Citizens seeks a judicial declaration of the

parties’ respective rights and duties under the CGL Policies.

                  COUNT II: DECLARATORY JUDGMENT –
      CLAIMS ASSERTED IN THE UNDERLYING ACTION DO NOT
       ALLEGE DAMAGES BECAUSE OF “BODILY INJURY” OR
       “PROPERTY DAMAGE” CAUSED BY AN “OCCURRENCE”

       34.    Citizens re-alleges and incorporates by reference Paragraphs 1 through

33 as if fully set forth herein.

                                          8
       Case 1:19-cv-05292-MHC Document 1 Filed 11/21/19 Page 9 of 19




      35.   The CGL Policies define “bodily injury” as “bodily injury, sickness or

disease sustained by a person, including death resulting from any of these at any

time. ‘Bodily injury’ includes mental anguish or other mental injury resulting from

‘bodily injury’.” [As Amended by Policy Form 421-2915 12 14, p. 3 of 4].

      36.   The CGL Policies define an “occurrence” as “an accident, including

continuous or repeated exposure to substantially the same general harmful

conditions.” [Policy Form CG 00 01 04 13, p. 15 of 16].

      37.   The CGL Policies define “property damage” as:

      a. Physical injury to tangible property, including all resulting loss of
         use of that property. All such loss of use shall be deemed to occur
         at the time of the physical injury that caused it; or

      b. Loss of use of tangible property that is not physically injured. All
         such loss of use shall be deemed to occur at the time of the
         "occurrence" that caused it.

[Policy Form CG 00 01 04 13, p. 15 of 16].

      38.   Citizens has no duty to defend or indemnify Albany Partners or Banyan

Tree because the claims asserted in the Underlying Action do not satisfy the

requirements of the Coverage A insuring agreement of the CGL Policies.

      39.   Citizens has no duty to defend or indemnify Albany Partners or Banyan

Tree because the claims asserted in the Underlying Action do not allege damages




                                         9
        Case 1:19-cv-05292-MHC Document 1 Filed 11/21/19 Page 10 of 19




because of “bodily injury” or “property damage” caused by an “occurrence” as

defined by the CGL Policies.

       40.    An actual controversy exists because Citizens contends that, pursuant

to the terms of the CGL Policies, Citizens has no duty to defend Albany Partners or

Banyan Tree in the Underlying Action or to indemnify Albany Partners or Banyan

Tree for any damages resulting therefrom.

       41.    Under 28 U.S.C. § 2201, Citizens seeks a judicial declaration of the

parties’ respective rights and duties under the CGL Policies.

                   COUNT III: DECLARATORY JUDGMENT
       THE CGL POLICIES DO NOT PROVIDE COVERAGE
     FOR THE UNDERLYING ACTION BECAUSE ANY CLAIMS
  FOR DAMAGES BECAUSE OF “BODILY INJURY” OR “PROPERTY
       DAMAGE” ARE EXCLUDED BY THE CGL POLICIES

       42.    Citizens re-alleges and incorporates by reference Paragraphs 1 through

41 as if fully set forth herein.

       43.    Coverage A of the CGL Policies includes exclusions to coverage,

including, but not limited to, the following:

       Exclusions

       This insurance does not apply to:

              a.     Expected or Intended Injury

                     “Bodily injury” or “property damage” expected or

                                           10
          Case 1:19-cv-05292-MHC Document 1 Filed 11/21/19 Page 11 of 19




                       intended from the standpoint of the insured. This
                       exclusion does not apply to “bodily injury” [or “property
                       damage”2 resulting from the use of reasonable force to
                       protect persons or property.

                ...

                o.     Personal and Advertising Injury

                       “Bodily injury” arising out of “personal and advertising
                       injury”.

                ...

                q.     Recording and Distribution of               Material    Or
                       Information In Violation Of Law

                       “Bodily injury” or “property damage” arising directly or
                       indirectly out of any action or omission that violates or is
                       alleged to violate”

                       ...

                       (4)    Any federal, state or local statute, ordinance, or
                              regulation, other than the TCPA, CAN-SPAM ACT
                              of 2003 or FCRA and their amendments and
                              additions, that addresses, prohibits, or limits the
                              printing, dissemination, disposal, collecting,
                              recording, sending, transmitting, communicating or
                              distribution of material or information.

[Policy Form CG 00 01 04 13, pp. 2, 5-6 of 16]

         44.    Citizens has no duty to defend or indemnify Albany Partners or Banyan



2
    [As Amended by Policy Form 421-2916 12 14, p. 3 of 5].

                                               11
        Case 1:19-cv-05292-MHC Document 1 Filed 11/21/19 Page 12 of 19




Tree under the CGL Policies because any alleged damages in the Underlying Action

were expected or intended by the insured.

       45.    Citizens has no duty to defend or indemnify Albany Partners or Banyan

Tree under the CGL Policies because any alleged damages because of “bodily

injury” arose out of “personal and advertising injury.”

       46.    Citizens has no duty to defend or indemnify Albany Partners or Banyan

Tree under the CGL Policies because any alleged damages in the Underlying Action

arose directly out of actions that violate federal, state or local statutes, which address,

prohibit, or limit the printing, dissemination, disposal, collecting, recording,

sending, transmitting, communicating, or distribution of material or information.

       47.    An actual controversy exists because Citizens contends that, pursuant

to the terms of the CGL Policies, Citizens has no duty to defend Albany Partners or

Banyan Tree in the Underlying Action or to indemnify Albany Partners or Banyan

Tree for any damages resulting therefrom.

                  COUNT IV: DECLARATORY JUDGMENT
     THE CGL POLICIES DO NOT PROVIDE COVERAGE FOR THE
    UNDERLYING ACTION BECAUSE THE INSURING AGREEMENT
                 OF COVERAGE B IS NOT MET

       48.    Citizens re-alleges and incorporates by reference Paragraphs 1 through

47 as if fully set forth herein.


                                            12
       Case 1:19-cv-05292-MHC Document 1 Filed 11/21/19 Page 13 of 19




      49.    The Coverage B Insuring Agreement of the CGL Policies provides, in

part, as follows:

      COVERAGE B – PERSONAL AND ADVERTISING INJURY
      LIABIALITY

      1. Insuring Agreement
         a. We will pay those sums that the insured becomes legally
             obligated to pay as damages because of “personal and
             advertising injury” to which this insurance applies. We will
             have the right and duty to defend the insured against any
             “suit” seeking those damages. However, we will have no duty
             to defend the insured against any “suit” seeking damages for
             “personal and advertising injury” to which this insurance does
             not apply. We may, at our discretion, investigate any offense
             and settle any claim or “suit” that may result. But:

                 (1)      The amount we will pay for damages is limited as
                          described in Section III – Limits Of Insurance; and

                 (2)      Our right and duty to defend end when we have used
                          up the applicable limit of insurance in the payment of
                          judgments or settlements under Coverages A or B or
                          medical expenses under Coverage C.

                    No other obligation or liability to pay sums or perform acts or
                    services is covered unless explicitly provided for under
                    Supplementary Payments – Coverages A and B.

            b.      This insurance applies to “personal and advertising injury”
                    caused by an offense arising out of your business but only if
                    the offense was committed in the “coverage territory” during
                    the policy period.

[Policy Form CG 00 01 04 13, p. 6 of 16].



                                             13
       Case 1:19-cv-05292-MHC Document 1 Filed 11/21/19 Page 14 of 19




      50.    The CGL Policies define “personal and advertising injury” as

follows:

      14. “Personal and advertising injury” means injury, including
           consequential “bodily injury” arising out of one or more of the
           following offenses:

             a.    False arrest, detention or imprisonment;

             ...

             c.    The wrongful eviction from, wrongful entry into, or
                   invasion of the right of private occupancy by or on behalf
                   of its owner, landlord, or lessor;
             ...

             e.    Oral or written publication in any manner, of material, that
                   violates a person’s right of privacy; . . . .

[Policy Form CG 00 01 04 13, p. 15 of 16].

      51.    Citizens has no duty to defend or indemnify Albany Partners or Banyan

Tree in the Underlying Action because claims asserted therein do not satisfy the

requirements of the Coverage B insuring agreement of the CGL Policies.

      52.    Citizens has no duty to defend or indemnify Albany Partners or Banyan

Tree because the claims asserted in the Underlying Action do not allege “personal

and advertising injury” as defined by the CGL Policies.

      53.    Citizens has no duty to defend or indemnify Albany Partners or Banyan

Tree because, to the extent the claims asserted in the Underlying Action sufficiently

                                         14
        Case 1:19-cv-05292-MHC Document 1 Filed 11/21/19 Page 15 of 19




allege a “personal and advertising injury” as defined by the CGL Policies, those

claims do not arise out of Albany Partners’ or Banyan Tree’s business.

       54.    An actual controversy exists because Citizens contends that, pursuant

to the terms of the CGL Policies, Citizens has no duty to defend Albany Partners or

Banyan Tree in the Underlying Action or to indemnify Albany Partners or Banyan

Tree for any damages resulting therefrom.

       55.    Under 28 U.S.C. § 2201, Citizens seeks a judicial declaration of the

parties’ respective rights and duties under the CGL Policies.

                   COUNT V: DECLARATORY JUDGMENT
   THE CGL POLICIES DO NOT PROVIDE COVERAGE FOR THE
  UNDERLYING ACTION BECAUSE ANY CLAIMS FOR “PERSONAL
   AND ADVERTISING” ARE EXCLUDED BY THE CGL POLICIES

       56.    Citizens re-alleges and incorporates by reference Paragraphs 1 through

55 as if fully set forth herein.

       57.    Coverage B of the CGL Policies includes exclusions to coverage,

including, but not limited to, the following:

       2.     Exclusions

              This insurance does not apply to:

              a.     Knowing Violation Of Rights Of Another

                     “Personal and advertising injury” cause by or at the
                     direction of the insured with the knowledge that the act

                                          15
       Case 1:19-cv-05292-MHC Document 1 Filed 11/21/19 Page 16 of 19




                   would violate the rights of another and would inflict
                   “personal and advertising injury”.

             ...

             d.    Criminal Acts

                   “Personal and advertising injury” arising out of a criminal
                   act committed by or at the direction of the insured.

             ...

             p.    Recording and Distribution of               Material     Or
                   Information In Violation Of Law

                   “Personal and advertising injury” arising directly or
                   indirectly out of any action or omission that violates or is
                   alleged to violate”

             ...

                   (4)     Any federal, state or local statute, ordinance, or
                          regulation, other than the TCPA, CAN-SPAM ACT
                          of 2003 or FCRA and their amendments and
                          additions, that addresses, prohibits, or limits the
                          printing, dissemination, disposal, collecting,
                          recording, sending, transmitting, communicating or
                          distribution of material or information.

[Policy Form CG 00 01 04 13, pp. 6-7 of 16]

      58.    Citizens has no duty to defend or indemnify Albany Partners or Banyan

Tree under the CGL Policies because any alleged damages because of “personal and

advertising injury” were caused by or at the direction of the insured with the

knowledge that the act would violate the rights of another and would inflict “personal
                                         16
       Case 1:19-cv-05292-MHC Document 1 Filed 11/21/19 Page 17 of 19




and advertising injury.”

      59.    Citizens has no duty to defend or indemnify Albany Partners or Banyan

Tree under the CGL Policies because any alleged damages because of “personal and

advertising injury” arose out of a criminal act committed by or at the direction of the

insured.

      60.    Citizens has no duty to defend or indemnify Albany Partners or Banyan

Tree under the CGL Policies because any alleged damages in the Underlying Action

arose directly out of actions that violate federal, state or local statutes, which

prohibits or limits the printing, dissemination, disposal, collecting, recording,

sending, transmitting, communicating or distribution of material or information.

      61.    An actual controversy exists in the Citizens contends that pursuant to

the terms of the CGL Policies, Citizens has no duty to defend Albany Partners or

Banyan Tree in the Underlying Action or to indemnify Albany Partners or Banyan

Tree for any damages resulting therefrom.

      62.    Under 28 U.S.C. § 2201, Citizens seeks a judicial declaration of the

parties’ respective rights and duties under the CGL Policies.

      WHEREFORE PREMISES CONSIDERED, Citizen respectfully requests

the following relief:

      (1)    That this Honorable Court will take jurisdiction of this petition;

                                          17
       Case 1:19-cv-05292-MHC Document 1 Filed 11/21/19 Page 18 of 19




      (2)    That this Honorable Court will ORDER, ADJUDGE, and DECREE

that this is a proper case for declaratory judgment relief and that there is a bona fide

controversy between the parties as to their legal rights, status, and liabilities;

      (3)    That the process of this Honorable Court be issued to the Defendants as

provided by law and the rules of this Court and that the Defendants be ordered to

respond to this petition for declaratory judgment within the time prescribed by law

or in the event of failure to do so, suffer a decree pro confesso;

      (4)    That this Honorable Court will declare the rights, status, and legal

relations of Citizens and the Defendants named in this petition under the CGL

Policies;

      (5)    That this Honorable Court will order, adjudge, declare, or decree that

Citizens has no duty to defend, indemnify, or reimburse Albany Partners or Banyan

Tree or otherwise pay for any damages, losses, claims, costs, or expenses arising out

of the claims asserted in the Underlying Action;

      (6)    That this Honorable Court will order reimbursement from Albany

Partners and Banyan Tree of all costs paid by Citizens in connection with the defense

of Albany Partners and Banyan Tree in the Underlying Action; and

      (7)    For such other and further relief to which Citizens may be entitled, or

as this Court may deem just and appropriate.

                                           18
      Case 1:19-cv-05292-MHC Document 1 Filed 11/21/19 Page 19 of 19




     Respectfully submitted, this 21st day of November, 2019.

                                   /s/ Joel S. Isenberg
                                   Joel S. Isenberg (Ga. Bar No.: 108253)
                                   Susan H. McCurry (Ga. Bar No.: 340555)
                                   Kenneth W. Boyles, Jr. (Ga. Bar No.: 183309)

                                    Attorneys for Plaintiff
                                    Citizens Insurance Company of America

OF COUNSEL:
ELY & ISENBERG, LLC
2100-B SouthBridge Parkway
Suite 380
Birmingham, Alabama 35209
Phone: (205) 313-1200
Facsimile: (205) 313-1201
jisenberg@elylawllc.com
smcurry@elylawllc.com
kboyles@elylawllc.com




                                      19
